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 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10    THRIVE NATURAL CARE, INC.,               Case No. 2:21-CV-02022-DOC-KES
11                        Plaintiff,           PLAINTIFF’S REPLY IN SUPPORT
                                               OF MOTION FOR PRELIMINARY
12          v.                                 INJUNCTION
13    LE-VEL BRANDS, LLC,                      Judge: Hon. David O. Carter
                                               Hearing Date: April 12, 2021
14                       Defendant.            Time: 8:30 a.m.
                                               Courtroom: 9D
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 1         With regard to Thrive’s chances of success on the merits—Le-Vel hardly
 2   contests likelihood of confusion at all. That is because confusion between Thrive’s
 3   THRIVE skincare products and Le-Vel’s competing THRIVE SKIN skincare
 4   products is plainly obvious. Le-Vel’s argument that Thrive only sold its products to
 5   men is wrong in light of Le-Vel’s own evidence—showing, in 2015, that Thrive
 6   was advertising its products directly to women and selling female-focused products.
 7   Indeed, Thrive has sold the majority of its products to women for much longer than
 8   Le-Vel has been in the skincare business. The parties are now direct competitors
 9   and Le-Vel has promised that, unless an injunction issues, it has plans to
10                                                                    . An injunction is
11   clearly necessary to stop Le-Vel from continuing to            its infringement of
12   Thrive’s registered marks.
13         Le-Vel rests its defense on a claim that it has obtained common law
14   trademark rights over the THRIVE mark for skincare products by allegedly giving
15   away 91 samples of vitamins to its own promoters and salesmen prior to September
16   11, 2012—the date Plaintiff Thrive’s constructive first use and national rights were
17   locked in by filing its first trademark application. Le-Vel admits it never actually
18   sold a single product until after Thrive’s constructive first use date. Le-Vel’s
19   showing is not even close to sufficient to prove it achieved the significant market
20   penetration needed to establish common law rights to the THRIVE mark for
21   vitamins in any single geographic location, let alone nationwide. And without proof
22   of market penetration for vitamins, Le-Vel cannot prove it gained any senior rights
23   to use the THRIVE mark on skincare products under the “natural zone of
24   expansion” test. Rather, Plaintiff Thrive has senior rights to use the THRIVE mark
25   on skincare products, as of the date it filed its trademark application on September
26   11, 2012.
27         Le-Vel then tries to avoid an injunction by using its own intentional
28   infringement as a shield. Le-Vel’s damages expert claims that
                                                                     PLAINTIFF’S REPLY ISO MTN.
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 2                                                    . If that is so, there is no possible way
 3   Le-Vel could have been unaware of Plaintiff Thrive, whose skincare business and
 4   trademark registration would have been uncovered by a simple Google search. Le-
 5   Vel chose to infringe with eyes wide open. It chose to incur the costs of branding its
 6   skincare line THRIVE SKIN with knowledge that Thrive held an incontestable
 7   trademark registration for THRIVE on skincare products and had been using that
 8   mark on skincare products for years. Le-Vel thus chose to accept the consequences
 9   of intentional infringement—that it might be enjoined from infringing and have to
10   incur costs to rebrand. Having accepted that risk, Le-Vel cannot now cry crocodile
11   tears that a known outcome may come to pass.
12   I.    Le-Vel Does Not Contest Most Issues Supporting an Injunction
13         Le-Vel does not contest Thrive’s ownership of an incontestable trademark
14   registration or substantially contest likelihood of confusion.
15         A.     Thrive Holds Incontestable Federal Trademark Rights
16         Le-Vel does not contest in its opposition that Thrive is the owner of a
17   registered, incontestable trademark for THRIVE on skincare products, U.S. Reg.
18   No. 4,467,942. [Doc. 24-2 at 11] Nor does Le-Vel contest Thrive’s ownership of a
19   second federal trademark, U.S. Reg. No. 6,164,303, for the mark THRIVE on
20   additional skincare products. Thrive’s ownership of federal registrations is thus
21   established. 1 And Le-Vel has not contested Thrive’s registrations of the THRIVE
22   1
       While Le-Vel states in a footnote that it has filed a petition to cancel Thrive’s
     registration with the USPTO, that petition has no chance of succeeding, as Le-Vel
23   cannot prove Thrive committed fraud in obtaining the registration. To obtain a
     cancellation against an incontestable registration, Le-Vel would need to prove by
24   clear and convincing evidence that Thrive filed false information about its first use
     in commerce while knowing that information was false, with specific intent to
25   commit a fraud on the USPTO. See, e.g., M.C.I. Foods, Inc. v. Brady Bunte, No.
     92046056 (TTAB Sep. 13, 2010) (holding “a trademark registration is obtained
26   fraudulently only if the applicant knowingly makes a false, material representation
     with the intent to deceive the USPTO” and “the very nature of the charge of fraud
27   requires that it be proven ‘to the hilt’ with clear and convincing evidence. There is
     no room for speculation, inference or surmise and, obviously, any doubt must be
28   resolved against the charging party.”); Lockstock Pubs., Inc. v. J. Thomas
                                                                        PLAINTIFF’S REPLY ISO MTN.
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 1   marks in the instant case.
 2         B.     Le-Vel Offers No Evidence to Contest Finding a Likelihood of
                  Confusion Between THRIVE and THRIVE SKIN Marks
 3

 4         Le-Vel does not seriously contest that its use of THRIVE SKIN branding on
 5   the accused skincare products is likely to cause confusion with Thrive’s registered
 6   THRIVE marks on skincare products. [See id. at 10-13] Indeed, Le-Vel’s
 7   opposition does not cite Sleekcraft or discuss the Sleekcraft factors at all. [See id.]
 8         Instead, Le-Vel relies on obfuscation rather than evidence to argue that
 9   Thrive sells only men’s grooming products to male customers, while Le-Vel
10   allegedly sells mostly to female customers. But that is demonstrably wrong in light
11   of Le-Vel’s own evidence—showing that, in 2015, Thrive was selling gender-
12   neutral energy scrub, face balm, and bodyshave oil and using women-focused hash
13   tags such as #NATURALBEAUTY and #GREENBEAUTY in its advertising.
14   [Doc. 22-3 at 76, 77, 99 (Thrive Instagram posts)] Indeed, like Le-Vel, Thrive sells
15   the majority of its products to women and has done so for years. [McIntosh Decl. ¶
16   3 and Ex. B] The parties are thus now direct competitors selling to the same target
17   market.
18         The only other Sleekcraft factor that Le-Vel addresses is actual confusion.
19   While Le-Vel’s expert quibbles Thrive’s survey evidence showing a high rate of
20   actual confusion, that is not enough to avoid a finding of likelihood of confusion
21   under Sleekcraft for two reasons. First, “[e]vidence of actual confusion is not
22
     Investments, Inc., No. 92057753 at *7-8 (TTAB Jan. 15, 2016) (holding that the
23   registrant’s belief he was using the mark in commerce barred a finding of fraud, and
     “whether this belief was accurate or reasonable is not relevant to the fraud
24   inquiry.”). Le-Vel has no chance of succeeding in on its cancellation petition, as
     Thrive’s CEO has testified to his good faith in claiming a date of first use in
25   commerce as of the date he sent THRIVE-branded products to customers and
     transported those goods in commerce. Filed with this response is documentary
26   evidence of Thrive’s shipments of THRIVE-branded skincare products to Whole
     Foods and Pharmaca markets, proving that Thrive’s first use in commerce was
27   August 2013. [Declaration of Alex McIntosh filed herewith (“McIntosh Decl.”), ¶ 2
     and Ex. A]. Thus, it is impossible for Le-Vel to have any chance of meeting its high
28   burden and prevailing on this issue.
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 1   necessary to prevail on an infringement claim or to secure injunctive relief.” Glow
 2   Indus., Inc. v. Lopez, 252 F. Supp. 2d 962, 999 (C.D. Cal. 2002); see also Academy
 3   of Motion Picture Arts Sciences v. Creative House Promotions, Inc., 944 F.2d 1446,
 4   1456 (9th Cir. 1991) (“actual confusion is not necessary to a finding of likelihood
 5   of confusion under the Lanham Act”); Levi Strauss Co. v. Blue Bell, Inc., 778 F.2d
 6   1352, 1360 (9th Cir. 1985) (“The absence of evidence of actual confusion need not
 7   give rise to an inference of no likelihood of confusion”); Golden Door, Inc. v.
 8   Odisho, 646 F.2d 347, 352 (9th Cir. 1980) (affirming the grant of an injunction for
 9   plaintiff despite the absence of evidence of actual consumer confusion).
10         Second, Le-Vel’s expert attacks Thrive’s survey on grounds that it showed
11   survey-takers a screenshot of Le-Vel’s point-of-sale page, which allegedly appears
12   in the purchase process after a sign-in prompt for Le-Vel’s website. But that is not
13   an error. Many, if not most, e-commerce websites initially require a user to sign in
14   before completing a purchase. For example, Amazon.com, Best Buy, Zappos, and
15   Chewy.com all request a user’s login and password before being able to reach the
16   point-of-purchase page. [Declaration of Stephen McArthur filed herewith
17   (“McArthur Decl.”) Ex. A] It is the rare site where a user can make a purchase
18   without first being asked to sign in. That is therefore not a basis to disregard
19   Thrive’s survey findings. As is proper, Thrive’s survey showed its own, Le-Vel’s,
20   and the control products’ point-of-sale pages as they would be seen by internet
21   users purchasing each product.
22         Other than these two issues, Le-Vel ignores the Sleekcraft test and does not
23   even attempt to argue there is no likelihood of confusion. Thrive has proven a
24   likelihood of success on the merits of its trademark infringement claims. See Pom
25   Wonderful LLC v. Hubbard, 775 F.3d 1118, 1124 (9th Cir. 2014) (plaintiff must
26   demonstrate that (1) it has a protected ownership interest in its mark, and (2)
27   defendant’s use is likely to cause consumer confusion). That leaves at issue only
28   Thrive’s ownership of its mark and irreparable harm.
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 1 II.     The Lanham Act Now Requires Presumption of Irreparable Harm for
           Thrive—Effective Date of New Law Was Immediate
 2

 3         Le-Vel argues that “prudence” counsels applying old Ninth Circuit case law
 4   which did not apply a presumption of irreparable harm when a plaintiff
 5   demonstrated a likelihood of success on the merits. [Doc. 24-2 at 14] Thrive
 6   believes, however, that prudence counsels that this Court should follow federal law.
 7         The presumption of irreparable harm contained in the Trademark
 8   Modernization Act of 2020 (“TMA”) was effective immediately upon the Act’s
 9   signature into law on December 27, 2020. While other sections of the TMA
10   expressly stated they were not effective until one year later, Section 6 amending 15
11   U.S.C. § 1115(a) to grant a plaintiff a presumption of irreparable harm contained no
12   such future effective date. See H. Rept. 116-645 (TMA) 116th Congress (2019-
13   2020) (Section 5 containing new procedures for trademark review by USPTO
14   containing clause specifying effective date of one year from implementation;
15   Section 6 regarding presumption of irreparable harm not containing any such future
16   effective date language). Therefore, Section 6 to the TMA—and the presumption of
17   irreparable harm in favor of trademark plaintiffs—was effective immediately. See
18   Gozlon-Peretz v. United States, 498 U.S. 395, 404 (1991) (holding “[i]t is well
19   established that, absent a clear direction by Congress to the contrary, a law takes
20   effect on the date of its enactment” and that, where certain sections of a law contain
21   express effective dates but others do not, sections without such dates are effective
22   immediately because “where Congress includes particular language in one section
23   of a statute but omits it in another section of the same Act, it is generally presumed
24   that Congress acts intentionally and purposely in the disparate inclusion or
25   exclusion.”).
26         While Le-Vel cherrypicked one article that expressed some uncertainty on
27   this issue, most legal articles from reputable sources assert there is no question that
28   the TMA immediately amended the relevant section of the Lanham Act. [See
                                                                      PLAINTIFF’S REPLY ISO MTN.
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  1    McArthur Decl. Ex. B] Thus, “prudence” here requires that the Court must grant
  2    Thrive a presumption of irreparable harm if Thrive shows a likelihood of success on
  3    the merits of its trademark infringement claims. Accordingly, the old case law and
  4    argument cited by Le-Vel in its brief [Doc. 24-2 at 14-17] is irrelevant and should
  5    be disregarded as not analyzing irreparable harm under the now-applicable
  6    standard.
  7   III.   Le-Vel Cannot Prove It Has Senior Use Rights to THRIVE Mark on
             Skincare Products
  8

  9          Le-Vel’s opposition to Thrive’s motion rests almost entirely on the allegation
 10    that Le-Vel had established “superior common law rights” to the THRIVE mark on
 11    vitamins and shake mix, which rights would, via Le-Vel’s extraordinary stretch of
 12    legal interpretation, carry over to skincare products under the “natural zone of
 13    expansion” test. [Doc. 24-2 at 1] But Le-Vel’s claim is completely at odds with
 14    case law holding that Le-Vel has no common law rights at all unless it could prove
 15    (which it cannot) both that it had established significant market penetration before
 16    Thrive’s September 11, 2012 constructive date of first use, and that vitamins and
 17    skincare lotions are closely related for trademark purposes.
 18          In fact, the lynchpin of Le-Vel’s defense requires that it convince the Court
 19    of two equally unlikely legal theories, both of which go against binding caselaw:
 20    (1) that 91 samples of a multivitamin given for free to its own salespeople
 21    establishes the requisite “market penetration” for common law rights in any given
 22    zip code, much less nationwide2; and (2) that those senior common law trademark
 23    rights to a multivitamin somehow translate to senior rights nationwide for skincare
 24    lotions and creams. Le-Vel has no realistic chance of winning either of these issues
 25    in this litigation. And it would have to win both to have the senior rights it claims.
 26    ///
 27    2
        The market penetration geography is analyzed on a zip code by zip code basis. See
 28    Optimal Pets, 877 F. Supp. 2d at 961-64.
                                                                        PLAINTIFF’S REPLY ISO MTN.
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  1         C.     Le-Vel Agrees Thrive’s Constructive Date of First Use of THRIVE
                   Mark on Skincare Products Was September 11, 2012
  2

  3         Le-Vel acknowledges, as it must, that Thrive’s constructive date of first use
  4   of its THRIVE mark in relation to skincare products was September 11, 2012.
  5   [Doc. 24-2 at 1] Under Ninth Circuit law, “the filing of an intent to use application
  6   constitutes constructive use of the mark, conferring a right of priority, nationwide in
  7   effect.” CreAgri, Inc. v. USANA Health Sciences, Inc., 474 F.3d 626, 629 n.7 (9th
  8   Cir. 2007); see also Brookfield Comms., Inc. v. West Coast Ent. Corp., 174 F.3d
  9   1036, 1051 n. 13 (9th Cir. 1999) (“Because ‘MovieBuff’ is a federally registered
 10   trademark, [plaintiff] is entitled to a presumptive first use date equivalent to the
 11   filing date of its trademark registration application”). “‘Constructive use’ means
 12   that which establishes a nationwide priority date with the same legal effect as the
 13   earliest actual use of a trademark at common law.” 2 J. Thomas McCarthy on
 14   Trademarks and Unfair Competition § 16:17 (5th ed.). Thus, Thrive’s nationwide
 15   priority date of first use of the THRIVE mark on skincare products is September
 16   11, 2012—the date Thrive filed its first trademark application, which matured as
 17   the ’942 Mark. [Doc. 8-2 Att. 1]
 18         D.     Le-Vel Has Not Shown Any Market Penetration in Any Location
                   Prior to Thrive’s Constructive First Use Date
 19

 20         Le-Vel is not asserting it acquired common law rights by using the THRIVE
 21   name on skincare products before Thrive’s first use date. Rather, Le-Vel’s defense
 22   is based entirely on its alleged preceding use of the THRIVE name on vitamins and
 23   shake mix, which Le-Vel claims gave it common law trademark rights over the
 24   THRIVE mark on skincare products because the “natural zone of expansion” of
 25   vitamins and shake mix supposedly encompasses skincare lotion products. There is
 26   no legal support for Le-Vel’s position for two reasons: (1) Le-Vel cannot prove it
 27   acquired any preceding common law rights on vitamins and shake mix; and (2) Le-
 28   Vel cannot meet its burden of showing skincare lotion products are within the
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  1   natural zone of expansion of a multivitamin and shake mix.
  2           A “senior user” “has the right to enjoin ‘junior’ users from using confusingly
  3   similar marks in the same industry and market or within the senior user’s natural
  4   zone of expansion.” Brookfield, 174 F.3d at 1047. However, law in this Circuit is
  5   clear that for a mark user to obtain senior common law trademark rights it “must
  6   not only establish that it is the senior user, it must also show that it has legally
  7   sufficient market penetration in a certain geographic market to establish those
  8   trademark rights.” Credit One Corporation v. Credit One Financial, Inc., 661 F.
  9   Supp. 2d 1134, 1138 (C.D. Cal. 2009) (emphasis added); see also FW Omnimedia
 10   Corp. v. Toyota Motor Sales, U.S.A., Inc., No. 04-8624 GPS (JRx), at *14 (C.D.
 11   Cal. Dec. 8, 2004). A senior trademark user gains rights “only in areas in which it
 12   has legally sufficient market penetration.” Optimal Pets, Inc. v. Nutri-Vet, LLC, 877
 13   F. Supp. 2d 953, 959 (C.D. Cal. 2012). “Sufficient market penetration is determined
 14   by examining the trademark user’s volume of sales and growth, number of persons
 15   buying the trademarked product in relation to the number of potential purchasers,
 16   and the amount of advertising in a given market.” Credit One, 661 F. Supp. 2d at
 17   1138.
 18           Courts will not consider the natural zone of expansion without the party
 19   claiming senior rights first proving it obtained sufficient market penetration to
 20   acquire common law rights in its mark. “Awarding common law trademark rights
 21   based on a ‘zone of natural expansion’ presupposes . . . that the trademark user has
 22   already penetrated the market in at least some geographic areas and established a
 23   presence there.” Glow, 252 F. Supp. 2d at 985. “[I]t is only after existing zones of
 24   market penetration are determined that natural zones of expansion can be
 25   identified.” Id. (emphasis added). Despite this primary requirement, Le-Vel never
 26   once mentions the term “market penetration” in its Opposition or attempts to make
 27   a showing that it could meet its burden here.
 28           Moreover, any relevant market penetration by Le-Vel must have occurred
                                                                        PLAINTIFF’S REPLY ISO MTN.
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  1   before Thrive filed its trademark application. “The filing of a trademark application
  2   freezes the geographic scope of the prior user’s claim.” Wine Grp., LLC v. L. & R.
  3   Wine Co., No. 2:10-cv-02204-MCE-KJN, at *39 (E.D. Cal. Sep. 7, 2012) (citing
  4   Quiksilver, Inc. v. Kymsta Corp., 466 F.3d 749, 762 (9th Cir. 2006)). “Upon the
  5   filing of the application, a prior user’s claim to the right to use the design subject to
  6   the trademark is limited ‘to those areas where [it] then enjoyed recognition based on
  7   its reputation, advertising, and sales.’” Id.
  8          Here, even if Court accepts all Le-Vel’s offered evidence of prior use and
  9   draws all inferences in Le-Vel’s favor, Le-Vel still cannot meet the burden of
 10   proving it acquired common law rights to the THRIVE mark before Thrive’s first
 11   use date of September 11, 2012. Le-Vel’s evidence consists of 91 invoices dated
 12   August 24, 2012, to September 11, 2012, showing that Le-Vel gave away single
 13   samples of its multivitamin and shake mix to its own brand promoters for free.
 14   [Doc. 24-3 ¶ 12, Ex. 1] Le-Vel admits it did not actually sell any THRIVE-branded
 15   supplements until September 15, 2012—after Thrive’s constructive date of first use.
 16   [Doc. 24-3 ¶ 14] (“Le-Vel made its first cash sale of its THRIVE products on
 17   September 15, 2012”). Le-Vel has also not offered any evidence that it advertised
 18   its THRIVE supplements online before Thrive’s constructive first use date. [Id.
 19   (screen captures dated September 15, 2012)] Finally, Le-Vel released its THRIVE
 20   DFT topical patches in 2013, long after Thrive’s constructive date of first use in
 21   2012. [See id. ¶¶ 16-17]. Accordingly, Le-Vel’s discussion of topical patches is
 22   irrelevant to its first use analysis.
 23          Le-Vel’s showing that it gave away 91 samples of vitamins and shake mix
 24   prior to September 12, 2011, is not nearly enough to establish legally sufficient
 25   market penetration in any geographic area. See, e.g., Glow, 252 F. Supp. 2d at 984
 26   (finding no market penetration despite sales in all 50 states and substantial
 27   advertising because the party claiming common law rights had presented no
 28   evidence of the “volume or level of sales in any location, nor how [its] market
                                                                        PLAINTIFF’S REPLY ISO MTN.
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  1   penetration compares with that of competitors”); Credit One, 661 F. Supp. 2d at
  2   1137 (finding no market penetration in areas where an office had closed and there
  3   was no basis to believe sales had occurred); Optimal Pets, 877 F. Supp. 2d at 962
  4   (finding no market penetration because the party claiming common law rights had
  5   no sales in 34 states, in 8 of the 16 states where there were sales those sales were
  6   under $80, and the two states with “big ticket” sales all originated in a single zip
  7   code). Never has a court found legally sufficient market penetration on as little
  8   evidence as Le-Vel offers. By September 11, 2012, Le-Vel admittedly had zero
  9   sales, zero purchasers, and zero, or hardly any, advertising. Cf. Credit One, 661 F.
 10   Supp. 2d at 1138 (listing factors considered in analysis). Le-Vel has not cited a
 11   single case in support of market penetration. It did not even mention market
 12   penetration, perhaps hoping that Thrive or the Court would forget about this
 13   necessary requirement if Le-Vel simply kept mum on it.
 14         The undisputed evidence shows that Thrive filed its first trademark
 15   application, which matured as the ’942 Mark, on September 11, 2012. By that date,
 16   Le-Vel was not selling any product in any location. As a matter of law, Le-Vel
 17   could not have achieved any significant market penetration in any zip code or
 18   region with its THRIVE-branded vitamins or shake mix. Le-Vel thus cannot prove
 19   it holds any common law rights senior to Thrive’s, much less that Le-Vel achieved
 20   any sort of requisite market penetration throughout the entire United States before
 21   Thrive’s seniority date of September 11, 2012. See Credit One, 661 F. Supp. 2d at
 22   1138. The Court should therefore reject Le-Vel’s contention that it could possibly
 23   hold common law rights to the THRIVE mark on vitamins or shake mix which
 24   predate Thrive’s constructive date of first use of its THRIVE mark on skincare
 25   products.
 26         E.     Natural Zone of Expansion Cannot Be Stretched as Le-Vel Claims
 27         Because Le-Vel cannot prove sufficient market penetration prior to Thrive’s
 28   priority date, the Court need not conduct the natural zone of expansion analysis. See
                                                                      PLAINTIFF’S REPLY ISO MTN.
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  1   Glow, 252 F. Supp. 2d at 985. But even if the Court did review this issue, Le-Vel’s
  2   defense cannot succeed. The “zone of natural expansion is generally defined
  3   narrowly.” Credit One, 661 F. Supp. 2d at 1138 (quoting Glow, 252 F. Supp. 2d at
  4   984). “The doctrine is normally invoked by senior users seeking to expand their
  5   federal statutory trademark rights into areas where a junior user is already using the
  6   mark under the protection of the common law. ” Kerzner Int’l Limited v. Monarch
  7   Casino Resort, 675 F. Supp. 2d 1029, 1049 (D. Nev. 2009) (emphasis added). The
  8   court in Kerzner rejected an argument similar to Le-Vel’s where a party claiming
  9   senior rights “turns the doctrine on its head, seeking to leverage its state trademark
 10   rights to expand the geographic area in which it is entitled to trademark protections
 11   in derogation of [a federal registration owner’s] federal rights.” Id. The court noted
 12   it had not discovered “any authority for so applying the natural zone of expansion
 13   doctrine” and that “[e]ven in the more usual circumstance, most courts have
 14   rejected the senior user’s arguments on the facts, narrowly defining the senior
 15   user’s zone of natural expansion.” Id. at 1049 and n.11.
 16         Here, Thrive is the holder of federal rights in the THRIVE mark for skincare
 17   products. It would be an unsupportable misuse of the zone of expansion doctrine to
 18   find that Le-Vel—who admittedly had no federal rights in relation to skincare
 19   products as of Thrive’s priority date or ever—could disregard Thrive’s federal
 20   rights and expand however it wishes simply because Le-Vel allegedly gave away a
 21   few samples of vitamins and shake mix to its own brand promoters days before
 22   Thrive filed its trademark application. Holding for Le-Vel would vastly increase the
 23   powers of alleged common law rights holders at the expense of those who have
 24   made the effort to obtain federal trademark registrations. That is not the law.
 25         In addition, the zone of expansion test only covers “closely related” goods
 26   “(such as pancake batter and pancake syrup) or where a senior user would normally
 27   and reasonably be expected to expand into another product line (from bicycle tires
 28   to auto tires, for example) . . . .” iShow.com, Inc. v. Lennar Corp., No. C15-
                                                                      PLAINTIFF’S REPLY ISO MTN.
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  1   1550RSL, at *3 (W.D. Wash. Mar. 17, 2017) (quoting 4 McCarthy on Trademarks
  2   and Unfair Competition § 24:20). “[A] trademark owner cannot by the normal
  3   expansion of its business extend the use or registration of its mark to distinctly
  4   different goods or services not comprehended by its previous use . . . where the
  5   result could be a conflict with valuable intervening rights established by another
  6   through extensive use . . . of the same or similar mark for like or similar goods and
  7   services.” Planetary Motion v. Techplosion, 261 F.3d 1188, 1201 (11th Cir. 2001)
  8   (quoting Carnival Brand Seafood Co. v. Carnival Brands, Inc., 187 F.3d 1307,
  9   1311 (11th Cir. 1999)). Whether goods are considered closely related under the
 10   natural zone of expansion test does not depend on Le-Vel’s CEO’s self-serving
 11   testimony that he always wanted to move into skincare. Rather, it relies on whether
 12   there would have existed a likelihood of confusion between Le-Vel’s vitamins and
 13   shake mix and Thrive’s skincare lotion products when they were first introduced.
 14   As Le-Vel’s own cited case law states, “to apply the doctrine [of natural zone of
 15   expansion], the senior user must show a likelihood of confusion between the use of
 16   the senior user’s mark on its original products and the use of the junior user’s mark
 17   on the products which the senior user allegedly would have naturally expanded to
 18   sell.” Newmark Realty Cap., Inc. v. BGC Partners, Inc., No. 16-CV-01702-BLF,
 19   2018 WL 2573183, at *17 (N.D. Cal. Mar. 30, 2018); see also iShow.com, No.
 20   C15-1550RSL, at *3 (same). In other words, Le-Vel, as the alleged senior user,
 21   would need to show consumers would have been likely to confuse its multivitamin
 22   with Thrive’s skincare lotion products, at the time Thrive began its business.
 23         Le-Vel has not even attempted to make this showing. Therefore, the Court
 24   cannot properly apply the zone of expansion test in this case. See Newmark, 2018
 25   WL 2573183, at *17-18 (denying defendant’s claim to prior use rights where
 26   defendant failed to argue Sleekcraft analysis supported confusion between its
 27   originally offered service and plaintiff’s later offered service). The Court can reach
 28   this conclusion without conducting any weighing of the evidence offered by the
                                                                      PLAINTIFF’S REPLY ISO MTN.
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  1   parties. There is simply no evidence to support Le-Vel’s claim, and no basis to
  2   apply the zone of natural expansion test.
  3         If the Court were to inquire further, there is substantial evidence that
  4   vitamins and skincare products are not so closely related that “a senior user would
  5   normally and reasonably be expected to expand” from one product line to the other.
  6   See iShow.com, No. C15-1550RSL, at *3. The USPTO puts vitamins and skincare
  7   products in different classes of goods for trademark examination and registration
  8   purposes. See Trademark Manual of Examining Procedure § 1401.02(a) (available
  9   at https://tmep.uspto.gov/RDMS/TMEP/current#/current/TMEP-1400d1e1.html)
 10   (skincare and cosmetics fall into International Class 3 and vitamins and shake mix
 11   supplements into International Class 5). Le-Vel has filed to register numerous
 12   vitamin-related marks containing the term “thrive,” but the USPTO has not rejected
 13   those applications over Thrive’s preexisting THRIVE mark registration. Indeed, the
 14   USPTO has approved the registration of dozens of trademarks by different
 15   applicants for identical marks, one applicant for the mark on skincare products and
 16   the other applicant for the mark on supplements or vitamins. [McArthur Decl. Ex. C
 17   (report identifying similar marks with different owners on these goods)].
 18         The USPTO’s opinion that the products are not in the same class is borne out
 19   in the marketplace. The most popular skincare companies—Neutrogena, Olay,
 20   Nivea, Este Lauder, Aesop, Curel, CeraVe, Dove, Cetaphil, Jergens—do not make
 21   or sell vitamins. [McIntosh Decl. ¶ 5 and Ex. C]. Conversely, the largest vitamin
 22   companies—Nature Made, Centrum, Vitafusion—do not sell skincare products. [Id.
 23   Ex. D] The products are not complementary, do not use the same or similar
 24   materials, and are not found near each other in physical stores that sell both. [Id. ¶
 25   5] Despite Le-Vel’s CEO’s alleged preexisting knowledge of the skincare industry,
 26   it still took Le-Vel over six years to expand from selling vitamins and shake mix to
 27   selling skincare products. [Doc. 24-3 ¶¶ 11-14, 47] Other courts have found goods
 28   are not closely related in similar circumstances. See, e.g., Physicians Formula
                                                                       PLAINTIFF’S REPLY ISO MTN.
                                                                           FOR PRELIM. INJUNCTION
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  1   Cosmetics Co. v. West Cabot Cosmetics, Inc., 857 F.2d 80, 82 n. 1 (2d Cir. 1988)
  2   (defendant’s prior use of mark on hard-bar soap did not extend to give defendant
  3   priority to use similar mark in connection with cosmetics and skin creams, and so
  4   intervening user with respect to cosmetics and skin creams had priority); Clark
  5   Freeman Corp. v. Heartland Co. Ltd., 811 F. Supp. 137, 142 (S.D.N.Y. 1993)
  6   (where plaintiff had senior rights to HEARTLAND mark with respect to women’s
  7   boots, those rights did not extend to give plaintiff priority over defendant’s
  8   intervening use of HEARTLAND with respect to shirts, sweaters, trousers, and
  9   jackets, because at the time the intervening use began, “there was no real likelihood
 10   that plaintiffs would bridge the gap by applying the ‘Heartland’ label to the types of
 11   products defendants were selling”). If soaps are not related to skincare products,
 12   then neither are Le-Vel’s vitamins. If boots are not related to shirts, sweaters,
 13   trousers, or jackets, then Le-Vel’s vitamins are not related to skincare lotions and
 14   creams.
 15         In addition, Le-Vel’s evidence showing the same manufacturer sells two
 16   different products under different brand names does not support that those goods
 17   are related under the zone of expansion test. See King Research, Inc. v. Shulton,
 18   Inc., 454 F.2d 66, 68 (2d Cir. 1972) (holding that plaintiff owner of SHIP-SHAPE
 19   mark for brush cleaner could not rely on its sales of toiletry products which “to date
 20   have been under other names” as evidence that defendant’s toiletries sold under the
 21   SHIP SHAPE mark were within plaintiff’s natural zone of expansion). While Le-
 22   Vel has offered screenshots showing several other multi-level marketing companies
 23   sell vitamins and skincare products, those exhibits show that even those sellers
 24   generally do not use the same brand for both types of products. [See Doc. 22-3, Ex.
 25   2 (Amway sells Nutrilite brand vitamins and Artistry brand skin products); Ex. 5
 26   (Isagenix sells AMPED brand vitamins and Rejuvity brand skin products); Ex. 6
 27   (Jeunesse sells AM/PM brand vitamins and Luminesce brand skin products); Ex. 7
 28   (Melaleuca sells Vitality brand vitamins and Sei Bella brand skin products); Ex. 8
                                                                       PLAINTIFF’S REPLY ISO MTN.
                                                                           FOR PRELIM. INJUNCTION
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  1   (Nikken sells Kenzen brand vitamins and True Elements brand skin products); Ex.
  2   9 (Shaklee sells Life Shake and Vitalizer brand vitamins and YOUTH brand skin
  3   products)]. Le-Vel’s evidence of these other brands thus does not support Le-Vel’s
  4   claim that it could normally and reasonably be expected to carry over its THRIVE
  5   branding from vitamins to skincare products.
  6         Lastly, Le-Vel’s evidence that retail stores such as GNC and Vitamin Shoppe
  7   sell supplements and skincare products under the same roof is also irrelevant. [Doc.
  8   22-3, Exs. 10 and 11] Those stores are akin to a grocery store or Amazon—merely
  9   selling two products in the same store, virtual or physical, does not make those
 10   products so closely related that “a senior user would normally and reasonably be
 11   expected to expand into another product line . . . .” iShow.com, No. C15-1550RSL,
 12   at *3. If that were so, one could claim almost any goods are so related. Le-Vel is
 13   seeking an unprecedentedly broad extension of the zone of expansion test—both in
 14   terms of its applicability to an alleged common law rights owner with no market
 15   penetration in any area, and its coverage of unrelated products. Finding for Le-Vel
 16   would clearly violate the principle that the Court must apply to zone of expansion
 17   test “narrowly.” Credit One, 661 F. Supp. 2d at 1138. Le-Vel has not met, and
 18   could never meet, its burden to show that the natural zone of expansion test should
 19   be considered here. And even if it were, lotions and creams are not within the
 20   natural zone of expansion for a seller of vitamins and shake mix. Thrive has thus
 21   satisfied the first element of the Lanham Act infringement analysis—Thrive has
 22   valid senior rights to the THRIVE marks on skincare products. See Brookfield, 174
 23   F.3d at 1046. And Le-Vel has conceded the second element of the infringement
 24   test—that its use of the THRIVE SKIN mark on skincare products creates a
 25   likelihood of confusion with Thrive’s THRIVE marks for identical types of
 26   skincare products. Thrive has therefore met its burden of proving it is likely to
 27   succeed on the merits of its trademark infringement claims.
 28   ///
                                                                      PLAINTIFF’S REPLY ISO MTN.
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  1   IV.   Thrive Will Continue to Be Severely Harmed Without An Injunction
  2         As explained above, because it has shown a likelihood of success on the
  3   merits, Thrive is entitled a presumption of irreparable harm under the TMA. The
  4   cases cited by Le-Vel do not take this into account and are of questionable
  5   applicability. Even Le-Vel’s own evidence—
  6                                                             —shows that Thrive needs
  7   this Court to grant a preliminary injunction to protect its brand and its business.
  8         A.     Thrive’s Harm Without an Injunction is and Will Continue to be
                   Significant
  9

 10         Le-Vel relies in its opposition solely on cases where a plaintiff had to
 11   affirmatively prove irreparable harm [Doc. 24-2 at 19-21] That is no longer the law.
 12   Further, Thrive has offered evidence that, due to Le-Vel’s infringements, Thrive
 13   has suffered a loss of control over its trademarks, reputation, and goodwill. [Doc. 8-
 14   1 at 22-23; Doc. 8-2 ¶¶ 19-27] Thrive now has to pay a prohibitively exorbitant
 15   amount for online advertising because Le-Vel (as it admits) has flooded the market,
 16   and Thrive must contend with a direct competitor using its marks, particularly a
 17   competitor with a history of extremely negative reviews from unbiased sources.
 18   [See id.] That is a “quintessentially irreparable injury.” Adidas Am., Inc. v. Skechers
 19   USA, Inc., 149 F. Supp. 3d 1222, 1249 (D. Or. 2016); McCarthy on Trademarks, §
 20   30:47.70.
 21         Le-Vel’s expert claims Thrive has exaggerated Le-Vel’s negative reputation
 22   because allegedly Le-Vel has received positive comments in
 23

 24                                     Doc. 24-9 ¶ 52 (emphasis added) (citing to zero
 25   evidence)] Given that Le-Vel’s customers are its promoters and vice versa, and Le-
 26   Vel is a billion-dollar player in the MLM industry, these certainly are not unbiased
 27   sources like the ones from which Thrive actually submitted evidence. Le-Vel’s only
 28   other argument is that Le-Vel donates a lot of money to charity [Id.] That is hardly
                                                                      PLAINTIFF’S REPLY ISO MTN.
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  1   consider in evaluating irreparable injury” and “courts are loath to withhold relief
  2   solely on that ground.” Arc of Cal. v. Douglas, 757 F.3d 975, 990 (9th Cir. 2014).
  3   Delay is “not particularly probative in the context of ongoing, worsening injuries.”
  4   Id. (explaining that where “the magnitude of the potential harm becomes apparent
  5   gradually, [it] undermin[es] any inference that the plaintiff was ‘sleeping on its
  6   rights.’”). Further, courts should not consider in analysis of delay the time after
  7   which a plaintiff sent a cease-and-desist letter and conducted an investigation and
  8   negotiations. See Guess ?, Inc. v. Hermanos, 993 F. Supp. 1277, 1286 (C.D. Cal.
  9   1997) (citing McCarthy on Trademarks at § 31:15 (“The trademark owner should
 10   be allowed a reasonable time to make an out-of-court protest and give the potential
 11   defendant time to respond so that the matter might be settled without the need for
 12   litigation.”); Ocean Garden, Inc. v. Marktrade Co.,953 F.2d 500 (9th Cir. 1991)
 13   (settlement negotiations excuse six-month delay from filing complaint to moving
 14   for preliminary injunction)). Suja, Life, LLC v. Pines Int’l, Inc., No. 16-CV-985, at
 15   *28 (S.D. Cal. Oct. 24, 2016) (finding a delay of one year “does not weigh against a
 16   finding of irreparable harm” where “[t]he delay in filing the motion for preliminary
 17   injunction was due to good faith discussions and negotiations regarding settlement
 18   between the parties.”).
 19         Here, Thrive sent Le-Vel a cease-and-desist letter on October 27, 2020,
 20   shortly after Thrive discovered the infringing products and noticed that the online
 21   advertising market was being flooded with ads for Le-Vel’s THRIVE SKIN
 22   products. Le-Vel responded by alleging it had senior use rights—an allegation
 23   which Thrive attempted to investigate by requesting evidence from Le-Vel several
 24   times. Le-Vel strung Thrive along as long as possible, promising to respond to
 25   these requests but never actually doing so. Finally, when it was clear no substantive
 26   response was forthcoming, Thrive filed suit and immediately sought a preliminary
 27   injunction. That is not enough delay for the Court to find Le-Vel has rebutted the
 28   presumption of irreparable harm in Thrive’s favor. See Guess, 993 F. Supp. at 1286
                                                                       PLAINTIFF’S REPLY ISO MTN.
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  1   (finding no undue delay where plaintiff discovered infringement “sometime in
  2   1996,” sent a cease-and-desist letter on November 22, 1996, engaged in
  3   negotiations with the defendant until filing suit on August 22, 1997, and moved for
  4   a preliminary injunction on October 2, 1997). The Guess court held “[t]he nine
  5   month delay from the cease-and-desist letter to the filing of suit is a reasonable time
  6   for Plaintiff to have allowed Defendants to respond to its request and pursue
  7   settlement avenues.” Id. That court was more concerned about the 41 days that
  8   passed between the plaintiff filing suit and seeking a preliminary injunction. Id.
  9   Here, one day passed between those two events—and that only because Thrive was
 10   waiting for a judge to be assigned before filing its motion so it could follow the
 11   Court’s procedural rules for setting a hearing. There is thus no basis to deny Thrive
 12   an injunction when it first tried to stop Le-Vel’s infringement without litigation and
 13   then necessarily investigated its claims before filing suit.
 14   V.    Le-Vel’s Knowing Infringement is Not a Shield to an Injunction
 15         Le-Vel’s final argument to avoid an injunction is essentially this:
 16

 17                                                       . But Le-Vel has overlooked the
 18   longstanding principle that “Defendants ‘cannot complain of the harm that will
 19   befall [them] when properly forced to desist from [their] infringing activities.’”
 20   Ossur hf v. Manamed Inc., 331 F. Supp. 3d 1005, 1017 (C.D. Cal. 2017) (quoting
 21   Triad Sys. Corp. v. Southeastern Express Co., 64 F.3d 1330, 1338 (9th Cir. 1995));
 22   see also Brooklyn Brewery Corp. v. Black Ops Brewing, Inc., 156 F. Supp. 3d 1173,
 23   1186 (E.D. Cal. 2016) (giving no weight to defendant where “[a]ny harm suffered
 24   by Defendant will result from being enjoined from engaging in unlawful trademark
 25   infringement.”). “[A] defendant who knowingly infringes another’s [intellectual
 26   property] cannot complain of the harm that will befall it when properly forced to
 27   desist from its infringing activities.” Cadence Design Sys. v. Avant! Corp., 125 F.3d
 28   824, 829 (9th Cir. 1997).
                                                                       PLAINTIFF’S REPLY ISO MTN.
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  1         Le-Vel’s entire argument on the balance of hardships factor is that Le-Vel
  2   will lose money if it is enjoined from continuing to sell infringing THRIVE SKIN
  3   products. [Doc. 24-2 at 22-23] That is exactly the type of harm that is not to be
  4   considered in whether to grant a preliminary injunction. See Ossur, 331 F. Supp. 3d
  5   at 1017; Brooklyn Brewery, 156 F. Supp. 3d at 1186. Further, Le-Vel’s own
  6   evidence supports that it went into this situation with eyes wide open as to the risk
  7   of infringement. Specifically, Le-Vel’s damages expert testified that
  8

  9

 10                                                              [Doc. 24-9 ¶ 24] Further,
 11   Le-Vel owns many trademarks for supplements and its CEO calls its THRIVE
 12   brand “one of the most important and powerful assets Le-Vel owns . . . .” [Doc. 24-
 13   3 ¶ 24] Had Le-Vel merely conducted a Google search in 2017 for “thrive
 14   skincare,” it would have found Plaintiff Thrive’s website. Had Le-Vel merely
 15   conducted a search of the USPTO’s online trademark database, it would have found
 16   Thrive’s issued trademark registration and second pending application. There is no
 17   possible way Le-Vel                                                        before
 18   launching its THRIVE SKIN products without doing a Google search and a basic
 19   trademark search. Thus, there is no way Le-Vel was ignorant of Thrive and its
 20   registered THRIVE marks when Le-Vel began selling THRIVE SKIN products.
 21   The only reasonable inference is that Le-Vel knew of Thrive and its federal
 22   trademark rights, and made a calculated business decision to ignore them. Le-Vel
 23   thus accepted the risk that it might be enjoined for infringement even before it
 24   entered the skincare market.
 25         Le-Vel also had notice that Thrive was claiming trademark infringement
 26   upon receiving Thrive’s cease-and-desist letter in October 2020. Le-Vel could have
 27   mitigated its alleged harm and begun a transition to different branding. Instead, Le-
 28   Vel doubled down on infringement and continued to expand and
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  1                            based on the infringing THRIVE SKIN brand. Le-Vel had
  2   five months between receiving the cease-and-desist letter and the filing of the
  3   preliminary injunction to begin rebranding or to negotiate with Thrive for a sell-off
  4   transitionary period. It did neither. Instead, it simply stonewalled Thrive. For these
  5   reasons, Le-Vel’s protestations it might suffer financial harm because its calculated
  6   risk to infringe might be enjoined cannot weigh against granting an injunction in
  7   Thrive’s favor.
  8         Le-Vel also contends it will lose money because it cannot rebrand. Again, its
  9   own evidence shows otherwise. As noted above, Le-Vel has submitted evidence
 10   from six other MLMs that sell skincare products under different brands than
 11   vitamins. [Doc. 22-3, Exs. 2, 5, 6, 7, 8, 9] This evidence proves that Le-Vel’s
 12   assertion that it cannot rebrand its skincare products is false—almost every other
 13   company, to the extent they sell both, uses different brands for vitamins and
 14   skincare products. There is no reason Le-Vel could not do the same and select a
 15   new name that does not infringe Thrive’s trademarks. Overall, Le-Vel has not
 16   provided any evidence of cognizable harm that tips the balance of equities in its
 17   favor. A preliminary injunction to stop Le-Vel’s current infringement and
 18                        is necessary to prevent further irreparable harm to Thrive’s
 19   business goodwill and reputation.
 20   VI.   Bond, if Any, Should Be Minimal
 21         Le-Vel’s request for a $1 million bond is untethered from the reality of this
 22   situation and merely an attempt to further burden Thrive. The amount of bond is
 23   within the Court’s discretion. See Save Our Sonoran, Inc. v. Flowers, 408 F.3d
 24   1113, 1126 (9th Cir. 2005). This case is not Apple v. Samsung. It is Thrive—a small
 25   company of six employees—against Le-Vel—a multi-billion-dollar MLM. Thrive
 26   has also proven a high likelihood of success on the merits, which favors a “minimal
 27   bond or no bond at all.” Van De Kamp v. Tahoe Reg’l Planning Agency, 766 F.2d
 28   1319, 1326 amended, 775 F.2d 998 (9th Cir. 1985); Ossur, 331 F. Supp. 3d at 1017
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  1   (finding a “modest bond appropriate” and setting bond at $10,000 where plaintiff
  2   proved high likelihood of success on trademark infringement claims); Blackbird
  3   Techs., Inc. v. Joshi, No. 5:15-cv-04272-EJD, at *12 (N.D. Cal. Oct. 6, 2015)
  4   (holding no bond was required and explaining the court may “decline to impose an
  5   undertaking [of a bond] upon the demonstration of a strong likelihood of success on
  6   the merits.”). And Le-Vel has not offered any serious reason it could not recoup its
  7   costs by resuming sales of skincare products under a noninfringing mark. See
  8   Moroccanoil, Inc. v. Zotos Int’l, Inc., 230 F. Supp. 3d 1161, 1179 (C.D. Cal. 2017).
  9         Burdening Thrive with a million-dollar bond that it may not be able to pay
 10   would be tantamount to denying injunctive relief entirely. That would, in effect,
 11   reward Le-Vel for intentionally infringing on a grand scale, which is not the
 12   purpose of the bond requirement. See Ossur, 331 F. Supp. 3d at 1017; Fiji Water
 13   Co. Llc v. Fiji Mineral Water U.S. LLC, 741 F. Supp. 2d 1165, 1184 (C.D. Cal.
 14   2010) (ordering bond of $20,000 on injunction requiring complete cessation of use
 15   of infringing trade dress). As explained, Le-Vel’s purported harms are the product
 16   of its knowing, intentional choice to infringe and choice not to mitigate damages
 17   after receiving a cease-and-desist letter from Thrive. Thrive, as a small company
 18   and owner of legitimate senior trademark rights, should not be forced to pay the
 19   price for Le-Vel’s willful infringement and repudiation of Le-Vel’s own
 20   responsibilities. A modest bond of $10,000 is therefore appropriate in this case.
 21                                        Conclusion
 22         Le-Vel knowingly chose to take the risk of infringing Thrive’s registered
 23   THRIVE marks for skincare products. Le-Vel admits it will continue to infringe
 24   and                                                unless an injunction issues.
 25   Thrive has shown a likelihood of success on it the merits of its trademark
 26   infringement claims, which is supported by a presumption of irreparable harm and
 27   its showing of actual irreparable harm. All of the facts and the law therefore fully
 28   support issuing an injunction Thrive’s favor.
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  1
       DATED: March 29, 2021                Respectfully submitted,
  2

  3                                         THE MCARTHUR LAW FIRM, PC
  4                                         By: /s/ Stephen McArthur
                                                Stephen McArthur
  5                                             Thomas Dietrich
                                               Attorneys for Plaintiff Thrive
  6                                            Natural Care, Inc.
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  1                              CERTIFICATE OF SERVICE
  2   Case Name: Thrive Natural Care, Inc. v. Le-Vel Brands, LLC
      Case No. 2:21-CV-02022-DOC-KES
  3
      IT IS HEREBY CERTIFIED THAT:
  4
             I, the undersigned, declare under penalty of perjury that I am a citizen of the
  5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
      Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
  6
               I have caused service of the following documents, described as:
  7
      PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR PRELIMINARY
  8   INJUNCTION
  9   on the following parties by electronically filing the foregoing on March 29, 2021,
      with the Clerk of the District Court using its ECF System, which electronically
 10   notifies them.
 11   KENDALL BRILL & KELLY LLP                            Attorneys for Defendant
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 20   Morgan E. Smith (SBN 293503)
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 21   3300 Hillview Avenue
      Palo Alto, CA 94304
 22   Telephone: (650) 849-6600
 23   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 24

 25
       Date:     3/29/2021                By: /s/ Stephen McArthur
 26                                           Stephen McArthur
 27

 28
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                                                                          FOR PRELIM. INJUNCTION
                                                 - 24 -             Case No. 2:21-CV-02022-DOC-KES
